        Case 4:16-cv-01306-YGR Document 130 Filed 01/11/18 Page 1 of 2




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 8                                UNITED STATES DISTRICT COURT
 9                      NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
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11 SIERA STRUMLAUF, BENJAMIN                     Case No. 4:16-cv-1306-YGR
   ROBLES, BRITTANY CRITTENDEN,
12 individually and on behalf of all others
   similarly situated,                           [PROPOSED] JUDGMENT
13
                   Plaintiffs,
14
           v.
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   STARBUCKS CORPORATION,
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                   Defendant.
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                                                                      Case No. 4:16-cv-1306-YGR
     SMRH:485158022.1                                                 [PROPOSED] JUDGMENT
        Case 4:16-cv-01306-YGR Document 130 Filed 01/11/18 Page 2 of 2




 1           Pursuant to the Court’s January 5, 2018 Order granting the Motion for Summary Judgment

 2 filed by Starbucks Corporation (“Defendant”), which dismissed all of the claims asserted by
 3 Plaintiffs Siera Strumlauf, Benjamin Robles and Brittany Crittenden (“Plaintiffs”),
 4           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant shall
 5 have judgment in its favor against Plaintiffs.
 6           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Plaintiffs’ claims
 7 are dismissed with prejudice.
 8           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Plaintiffs take
 9 nothing and that Defendant shall have its costs of suit.
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             IT IS SO ORDERED.
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     DATED: __________,
            January 11 2018
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15                                                      HON. YVONNE GONZALEZ ROGERS
                                                         UNITED STATES DISTRICT JUDGE
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     SMRH:485158022.1                                                          [PROPOSED] JUDGMENT
